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                             UNITED STATES BANKRUPTCY COURT
                              SOUTHERN DISTRICT OF FLORIDA
                                      MIAMI DIVISION

In re:
Sixty Sixty Condominium Association, Inc.                    Case No. 16-26187-RAM

      Debtor-in-Possession.                                  Chapter 11
_______________________________/

Sixty Sixty Condominium Association, Inc.                    Adv. Case No. 17-01171-RAM

       Plaintiff.

v.
Schecher Group, Inc. d/b/a
SG Shared Components

      Defendant.
_______________________________/

            EXIGENT MOTION TO COMPEL PRODUCTION OF DOCUMENTS
             FROM CASABLANCA RENTAL SERVICES, INC. RESPONSIVE
                      TO SUBPOENA AND FOR SANCTIONS

       Plaintiff and debtor-in-possession Sixty Sixty Condominium Association, Inc. (“Plaintiff” or

“Debtor”), by and through undersigned counsel, files this Exigent Motion to Compel Production of

Documents from Casablanca Rental Services, Inc. Responsive to Subpoena and for Sanctions (the

“Motion”) seeking entry of an order compelling Casablanca Rental Services, Inc. (“Casablanca”) to

produce all documents responsive to the Subpoena to Produce Documents, Information, or Objects or

to Permit Inspection of Premises in a Bankruptcy Case (ECF # 112) (the “Subpoena”) and for

sanctions. In support of this Motion, Debtor states the following:

                                             SUMMARY

       Casablanca ought to be compelled to respond to the Subpoena on an expedited basis.

       Casablanca has had sufficient notice of the Subpoena and sufficient time to produce

documents. Casablanca, an affiliate of the Schecher Group, Inc. (“Schecher”), seeks only to drive up

costs and delay Debtor’s efforts.
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        The Subpoena is narrowly tailored, reasonably calculated to lead to the discovery of

admissible evidence, and would not impose any undue burden on Casablanca.

        This adversary proceeding advances, among other things, objections to the claims of Schecher

against the Debtor (the “Objections”). The Objections include, among others, that Schecher

improperly assessed the Debtor for expenses beyond the scope of “shared costs” and that certain

charges are in unreasonable amounts. Schecher’s claims against the Debtor include, among other

things, pass-through costs of Casablanca.
                                                                   1
        According to records produced by Schecher,                     Schecher was charged approximately

$178,865.36 by Casablanca. Such charges were passed along to unit owners, including the Debtor, as

“shared costs.”

        Debtor ought to be permitted to investigate the nature and extent of charges being assessed

against it as “shared costs”, particularly in that: (i) Casablanca is responsible for paying all of its own

operational costs; and (ii) certain Casablanca charges that may be chargeable to specific unit owners

are not chargeable as “shared costs.”

             This Court ought to require Casablanca to immediately produce all documents responsive to

the Subpoena and impose the costs of advancing this Motion as sanctions against Casablanca for its

objectionable litigation tactics.

                                    BACKGROUND AND ARGUMENT

        1.        On December 5, 2016, Debtor filed a voluntary petition for relief under Chapter 11 of

the Bankruptcy Code commencing the above captioned main bankruptcy case (the “Main Case” or

“MC”).


        1
          Such records were produced only after motions practice and this Court setting deadlines and compelling
Schecher and its affiliate, Condominium Hotel Management Corporation, Inc., to produce the responsive documents. MC
ECF## 72 & 109.
                                                   2
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        2.       On April 27, 2017, Debtor filed the Complaint to Determine Validity, Priority, and

Extent of Liens, Setoff, Objection to Claim & Request for Declaratory Judgment (the “Complaint”)

commencing this adversary proceeding against Schecher (the “Adversary” or “AP”). AP ECF #1.

        3.       On November 30, 2017, during a hearing before this Court on several matters related

to the Adversary, Debtor’s counsel requested that discovery be allowed to investigate certain of

Casablanca’s records.

        4.       In response, counsel for Casablanca (“Casablanca Counsel”) represented to the Court

that Casablanca would cooperate with the Debtor and produce the requested documents. 2

        5.       On December 1, 2017, counsel for the Debtor sent an e-mail to Casablanca Counsel

requesting that Casablanca cooperatively provide the documents that are subject of the Subpoena.

        6.       Casablanca failed and refused to produce the documents in response.

        7.       On December 11, 2017, this Court entered its Order (1) Denying Motion to Abstain;

(2) Clarifying Scope of Proceeding; (3) Reserving Ruling on Motion to Reset Trial; and (4) Setting

Filing Deadline (the “AP Order”). AP ECF #111.

        8.       Among other things, the AP Order permitted the parties to pursue document discovery

and advised that the Court would shorten discovery response deadlines to 14 days.

        9.       On December 11, 2017, Debtor filed a copy of the Subpoena to be served on

Casablanca. AP ECF #112. On December 11, 2017, a copy of the Subpoena was sent to, among

others, Casablanca Counsel through CM/ECF. AP ECF #115. 3


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            “We’ve provided a ton of financial documents, we’ve provided hotel revenue reports, and – um- the expenses
of the hotel program are not – and we’ll show that through Mr. Schecher – the expenses of the hotel program are not
charged to the 6060 unit owners everything is separate. So we’ve given them so much documents and it would seem to
me that if there’s other documents they want we’d be happy to give it to them.” - Mr. Davis (pending official transcript).
          3
            According to Casablanca’s Motion for Protective Order (ECF #126), it appears that Casablanca Counsel takes
the position that it was not counsel to Casablanca in this Adversary notwithstanding that when issues of discovery related
to Casablanca arose in the Adversary, Casablanca Counsel made representations and arguments on Casablanca’s behalf.
Casablanca Counsel attempted the same tactic in February 2017 when Debtor sought discovery from Condominium Hotel
Management Company, another Schecher affiliate. See MC ECF #99 & 109.
                                                       3
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       10.    Also on December 11, 2017, Debtor filed its Plaintiff’s Ex Parte Motion to Shorten

Time for Responses to Subpoena to Produce Documents, Information or Objects or to Permit

Inspection of Premises in a Bankruptcy Case (the “Motion to Shorten”). AP ECF #113.

       11.    The Motion to Shorten was served upon, among others, Casablanca Counsel through

CM/ECF. ECF #116.

       12.    The Motion to Shorten was granted on December 12, 2017. AP ECF #114. This Court

set the deadline for Casablanca to respond to the Subpoena on December 26, 2017 at 5:00 pm. AP

ECF #114. The order granting the Motion to Shorten was served upon, among others, Casablanca

Counsel through CM/ECF on December 12, 2017. AP ECF#117.

       13.    On December 21, 2017, counsel for Schecher inquired of undersigned whether the

Subpoena had been personally served and explained that Schecher was analyzing its potential

objections the Subpoena.

       14.    Schecher’s counsel was advised that Casablanca Counsel had made an appearance in

this matter and had been served with the Subpoena. Nevertheless, on December 22, 2017, the

Subpoena was served upon Casablanca’s registered agent by personal service.

       15.    Counsel for Schecher and undersigned did communicate and try to resolve objections

that Schecher might have. However, in violation of Local Rule 7026-1(F), Casablanca Counsel

made no effort whatsoever to resolve any discovery issues related to the Subpoena.

       16.    Instead, without a good faith conference, Casablanca filed its Motion for Protective

Order by Non-Party, Casablanca Rental Services, Inc. to Plaintiff, Sixty Sixty Condominium

Association, Inc.’s Subpoena to Produce Documents, Information, or Objects or to Permit Inspection

of Premises in a Bankruptcy Case (“Motion for Protective Order”). AP ECF #126.

       17.    Casablanca’s Motion for Protective Order largely appears to argue that the requests of

the Subpoena are not relevant to the Adversary.

       18.    However, the Subpoena seeks (collectively, the “Subpoena Documents”): (i) monthly

reports detailing the income and expenses incurred by Casablanca in connection with the Sixty Sixty
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Condominium; (ii) the contracts between Casablanca and residential unit owners; and (iii) contracts

between Casablanca and vendors that provide services to the Sixty Sixty Condominium.

       19.     The Subpoena Documents are probative of, among other things, costs incurred by

Casablanca, charged to Schecher, and assessed to the Debtor as “shared costs.” Additionally, the

Subpoena Documents would tend to lead to evidence regarding the appropriateness of the amounts

assessed by Schecher as “shared costs” and the reasonableness of the expenses. Under the

Declaration, Schecher is not permitted to earn a profit through assessments of “shared costs” and

ought not be permitted to earn such profit through its closely held business entities.

       20.     The Subpoena Documents are thus extremely relevant to the Adversary.

       21.     After the filing of the Motion for Protective Order, Debtor’s counsel spoke to

Casablanca Counsel and Schecher’s counsel as part of its good faith efforts to resolve discovery

disputes prior to filing this Motion. Debtor’s understanding is that Casablanca has agreed to produce

a subset of the responsive documents, but maintains its objections to the balance of the requests.

Debtor appreciates Casablanca’s efforts to narrow the disputed issues. But, for a complete analysis,

Debtor requests that all documents responsive to the Subpoena be produced.

                                       RELIEF REQUESTED

       22.     Rule 37 of the Federal Rules of Civil Procedure (“Rule 37”), which is made applicable

in adversary proceedings through Rule 7037 of the Federal Rules of Bankruptcy Procedure, provides

at subparagraph (a)(1) that after a good faith conference, “a party may move for an order compelling

disclosure or discovery” when a party fails to produce documents.

       23.     Rule 37(a)(5)(A) further provides the court must “…require the party or deponent

whose conduct necessitated the motion, the party or attorney advising that conduct, or both to pay the

movant's reasonable expenses incurred in making the motion, including attorney's fees.”

       24.     Through 11 U.S.C. § 105 and inherent powers, this Court is further empowered to

“impose sanctions to assure compliance with subpoenas.” See, e.g., In re Rosebar, 505 B.R. 82, 87

(Bankr. D.D.C. 2014).
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       WHEREFORE, for all the reasons explained above, Debtor respectfully requests this Court

enter an Order: (i) granting this Motion; (ii) compelling Casablanca to immediately produce all

documents responsive to the Subpoena; (iii) issuing sanctions in amount of the attorney’s fees

incurred for bringing this Motion; and (iv) granting such other and further relief as the Court deems

necessary or appropriate.

       Respectfully submitted on December 29, 2017

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